Case 1:18-cv-20839-UU Document 15 Entered on FLSD Docket 05/02/2018 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 PATRICIA KENNEDY,                                       :
                                                         :
        Plaintiff,                                       :
                                                         :
 v.                                                      : Case No. 18-cv-20839-UNGARO
                                                         :
 FLORIDIAN HOTEL, INC.,                                  :
                                                         :
       Defendant,                                        :
 ________________________________________/

                     UNOPPOSED MOTION FOR LEAVE TO WITHDRAW
                            AS ATTORNEY FOR PLAINTIFF

        Pursuant to Local Rule 11.1 (d) (3) of the United States District Court for the Southern

 District of Florida, attorney Jeannette E. Albo (“Attorney Albo), respectfully requests that this Court

 grant her leave to withdraw her appearance as one of the attorneys of record for Plaintiff, Patricia

 Kennedy, in this matter. In support of this motion, she states as follows:

        1.      At case inception on March 5, 2018, Plaintiff was represented by Attorney Albo and

 Thomas B. Bacon, Esq.

        2.      On April 17, 2018 (DE 25), one week after Defendant’s counsel appeared in the case

 and four days after Defendant responded to the Complaint, attorney Philip M. Cullen entered an

 appearance on Plaintiff’s behalf.

        3.      Since then, Mr. Cullen and Mr. Bacon have been handling this matter – and intend

 to continue torepresent Plaintiff in the case going forward – without Ms. Albo’s participation.

        4.      As such, Ms. Albo respectfully requests that this Court grant her leave to withdraw

 her appearance as one of the attorneys of record for Plaintiff.

        5.      Plaintiff consents to this Motion.
Case 1:18-cv-20839-UU Document 15 Entered on FLSD Docket 05/02/2018 Page 2 of 2



        6.      NOTICE OF CONFERRAL: The undersigned consulted with defense counsel over

 the relief requested in this Motion. Opposing counsel graciously agreed to such relief.

        WHEREFORE, attorney Jeannette E. Albo respectfully requests that the Court grant her

 leave to withdraw as one of the attorneys of record for the plaintiff in this action.



                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 2, 2018, a copy of foregoing was filed electronically and served
 on all counsel of record through the Court's CM/ECF System.




                                                        By: /s/ Jeannette E. Albo
                                                        Jeannette E. Albo, Esq.
                                                        Fla. Bar No. 0017736
                                                        Of Counsel, Thomas B. Bacon, P.A.
                                                        9444 S.W. 69th Ct.
                                                        Miami, FL 33156
                                                        ph. (305) 502-4593
                                                        jalbo@bellsouth.net

                                                        Thomas B. Bacon, Esq.
                                                        Thomas B. Bacon, P.A.
                                                        644 No. McDonald St.
                                                        Mt. Dora, FL 32757
                                                        Ph. 954-478-7811
                                                        tbb@thomasbaconlaw.com




                                                   2
